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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 20-22746-CIV-UNGARO

 CARLOS FERNANDEZ and
 TECHNOLOGICAL CONCEPTS, INC.,

           Plaintiffs,

 v.

 CHECKALT ERAS, INC. and
 SHAI STERN,

       Defendants.
 _______________________________________/

            DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE
                MOTION TO DISMISS SECOND AMENDED COMPLAINT

           Defendants CheckAlt ERAS, Inc. (“CheckAlt”) and Shai Stern (“Stern”) (collectively,

 “Defendants”) hereby oppose Plaintiffs Carlos Fernandez’s and Technological Concepts, Inc.’s

 (“Tech. Concepts”) (collectively, “Plaintiffs”) Motion to Strike Defendants’ Motion to Dismiss

 the Second Amended Complaint [D.E. 48] and, in support thereof, state as follows:

      I.   INTRODUCTION

           In their Motion, Plaintiffs seek to strike Defendants’ timely-filed and well-supported

 Motion to Dismiss the Second Amended Complaint, arguing that it is “immaterial or impertinent”

 because, rather than file “an answer” to the Second Amended Complaint, Defendants “filed

 another Motion to Dismiss….” D.E. 48, at ¶¶ 2-3, 5. Plaintiffs’ Motion to Strike fails as a matter

 of law and must be denied.

           First, Plaintiffs’ Motion to Strike Defendants’ Motion to Dismiss is improper under the

 Federal Rules. Federal Rule of Civil Procedure 12(f), the sole basis upon which Plaintiffs move,

 provides only for the striking of pleadings, not motions. See Fed. R. Civ. P. 12(f) (“The court may

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 strike from a pleading an insufficient defense or any redundant, immaterial, impertinent, or

 scandalous matter.”) (emphasis added). Thus, Rule 12(f) cannot serve as the procedural vehicle

 for striking Defendants’ Motion to Dismiss the Second Amended Complaint, which is plainly not

 a pleading.

        Second, even if Plaintiffs’ Motion to Strike were procedurally proper (it is not), Plaintiffs

 have not established that Defendants’ Motion to Dismiss the Second Amended Complaint is so

 immaterial or impertinent as to require its striking under Rule 12(f). The Court’s November 6,

 2020 Order required a response to Plaintiffs’ Second Amended Complaint by November 20, 2020.

 D.E. 43, at 5. Defendants timely filed their response to Plaintiffs’ Second Amended Complaint on

 November 16, 2020; namely, their Motion to Dismiss under Rule 12(b)(6). D.E. 47. Importantly,

 the Court’s November 6, 2020 Order expressly permits Defendants to file a motion to dismiss in

 response to Plaintiffs’ Second Amended Complaint:

               Defendants’ pending [Motion to Dismiss the First Amended Complaint] will be
               denied as moot and without prejudice to the filing of a renewed motion, if
               appropriate, in response to Plaintiff’s Second Amended Complaint.

 D.E. 43, at 4 (emphasis added). Accordingly, Defendants’ Motion to Dismiss the Second Amended

 Complaint is compliant with the Court’s November 6, 2020 Order and cannot be shown to be so

 completely unrelated to the action or prejudicial as to warrant its striking under Rule 12(f).

        For these reasons, Plaintiffs’ Motion to Strike Defendants’ Motion to Dismiss the Second

 Amended Complaint should be denied.

   II. PROCEDURAL HISTORY

        On or about June 2, 2020, Plaintiff Fernandez initiated this action in the Circuit Court of

 the Eleventh Judicial Circuit in and for Miami-Dade County, Florida. See D.E. 1. In the initial

 Complaint, Mr. Fernandez asserted six causes of action against Defendants for: (1) violations



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 under the Fair Labor Standards Act (“FLSA”); (2) violations of the Florida Deceptive and Unfair

 Trade Practices Act; (3) declaratory relief; (4) violations arising under 26 U.S.C. § 7434; (5) breach

 of oral contract; and (6) unjust enrichment. Id. Defendants timely removed the action to this Court

 on July 2, 2020. Id. Defendants then moved to dismiss Mr. Fernandez’s Complaint. D.E. 9. On

 August 28, 2020, the Court entered an order dismissing each count of Mr. Fernandez’s Complaint,

 including dismissing three of the counts with prejudice. D.E. 26.

        Mr. Fernandez filed an Amended Complaint on September 11, 2020, in which he asserted

 two causes of action: (i) FLSA violations; and (ii) breach of oral contract. D.E. 28. On September

 25, 2020, Defendants moved to dismiss the Amended Complaint. D.E. 30. Rather than file a

 response to Defendants’ Motion to Dismiss the Amended Complaint, on October 9, 2020, Mr.

 Fernandez filed a Motion for Extension of Time to File Response [D.E. 37] and later, on October

 12, 2020, filed a Motion seeking leave to file a proposed Second Amended Complaint [D.E. 38].

 Defendants filed a response in opposition to Mr. Fernandez’s Motion for Leave to File. D.E. 41.

        On November 6, 2020, the Court granted Mr. Fernandez’s Motion for Leave to File and

 denied as moot, and without prejudice to refiling, Defendants’ Motion to Dismiss Plaintiff’s

 Amended Complaint. D.E. 43. Plaintiffs filed their Second Amended Complaint the same day,

 adding Tech. Concepts as a party plaintiff and including a breach of contract claim on its behalf.

 D.E. 44. Defendants timely filed their Motion to Dismiss the Second Amended Complaint on

 November 16, 2020. D.E. 47. Plaintiffs have not yet filed a response to Defendants’ Motion to

 Dismiss the Second Amended Complaint.




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   III. ARGUMENT

        A. Plaintiffs’ Motion to Strike Defendants’ Motion to Dismiss the Second Amended
           Complaint Should Be Denied as Improper.

        Plaintiffs’ Motion to Strike Defendants’ Motion to Dismiss the Second Amended

 Complaint is procedurally improper under the Federal Rules and should be denied.

        Plaintiffs have based their Motion to Strike on Rule 12(f) of the Federal Rules of Civil

 Procedure. D.E. 48, at ¶ 4. Rule 12(f) makes clear, however, that motions to strike must be directed

 to a party’s pleadings. See Fed. R. Civ. P. 12(f) (“The court may strike from a pleading an

 insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”) (emphasis

 added); see also Polite v. Dougherty Cnty. Sch. Sys., 314 F. App’x 180, 184 n.7 (11th Cir. 2008)

 (“[M]otions to strike are only appropriately addressed towards matters contained in the

 pleadings.”). Rule 7 distinguishes between “pleadings,” which are listed in Rule 7(a), and “motions

 and other papers,” which are described in Rule 7(b). See Fed. R. Civ. P. 7. As enumerated in Rule

 7(a), the only “pleadings” allowed by the Federal Rules are: “(1) a complaint; (2) an answer to a

 complaint; (3) an answer to a counterclaim designated as a counterclaim; (4) an answer to a

 crossclaim; (5) a third-party complaint; (6) an answer to a third-party complaint; and (7) if the

 court orders one, a reply to an answer.” Fed. R. Civ. P. 7(a). Because Rule 12(f) only authorizes

 motions to strike “pleadings,” a motion to strike cannot be filed with regard to something that is

 not a “pleading” under Rule 7(a) (for example, a “motion or other paper” governed by Rule 7(b)).

 See, e.g., Silva v. Swift, 333 F.R.D. 245, 248 (N.D. Fla. 2019) (“[C]ourts have held that Rule 12(f)

 does not authorize courts to strike motions, affidavits, or memoranda in support of motions.”).

        In requesting the Court strike Defendants’ Motion to Dismiss the Second Amended

 Complaint, Plaintiffs are improperly seeking to strike a dispositive motion, which is not a

 “pleading” within the definition of Rule 7(a). See Fed. R. Civ. P. 7(a); Jallali v. Am. Osteopathic

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 Ass’n, No. 11-60604-CIV, 2011 WL 2039532, at *1 (S.D. Fla. May 25, 2011) (“Dispositive

 motions are not ‘pleadings’ within the definition of Rule 7(a).”); see also Whitney Info. Network,

 Inc. v. Weiss, No. 207-cv-112, 2008 WL 11334989, at *1-2 (M.D. Fla. Apr. 14, 2008) (noting that

 a motion to dismiss does not constitute a pleading and thus “the remedy provided in Rule 12(f) is

 not available”). Plaintiffs have not – because they cannot – cite any authority to establish that a

 motion to strike a motion to dismiss is proper under Rule 12(f).1

        Courts have routinely denied as improper Rule 12(f) motions to strike dispositive motions.

 See, e.g., Harrison v. Belk, Inc., 748 F. App’x 936, 940 (11th Cir. 2018) (“[A] motion for summary

 judgment is no ‘pleading’ and, thus, may not be attacked by a motion to strike under Fed. R. Civ.

 P. 12(f).”); Davis v. McKenzie, No. 16-62499-civ, 2017 WL 8809917, at *1 (S.D. Fla. Nov. 3,

 2017) (“Because Rule 12(f) has no application to any matter outside the pleadings – in this

 instance, to an argument in [a] summary judgment motion – Plaintiff’s Motion to Strike is

 improper.”); Jallali, 2011 WL 2039532, at *1 (denying motion to strike language from defendant’s

 motion to dismiss the amended complaint because “motions are not pleadings within the definition

 of Rule 7(a)”); Inter-Tel, Inc. v. West Coast Aircraft Eng'r, Inc., No. 8:04-CV-02224, 2005 WL

 2431267, at *2 (M.D. Fla. Oct. 3, 2005) (“This Court has consistently held that Rule 12(f) provides

 only for the striking of pleadings, not motions.”); Morroni v. Gunderson, 169 F.R.D. 168, 170

 (M.D. Fla. 1996) (denying motion to strike a motion to dismiss the complaint because “[a] motion

 is not a pleading, and thus a motion to strike a motion is not proper”); Weiss v. PPG Industries,



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   Plaintiffs cite only one case to support their Motion to Strike Defendants’ Motion to Dismiss the
 Second Amended Complaint: Freestream Aircraft USA Ltd. v. Chowdry, No. 16-CV-81232, 2018
 WL 2002419 (S.D. Fla. Apr. 30, 2018). D.E. 48, at ¶ 4. In Freestream, the plaintiff filed a Motion
 to Strike one of the defendants’ affirmative defenses (“unclean hands”) in his Answer and
 Affirmative Defenses to the Amended Complaint, which the Court denied. Thus, Freestream
 involved a motion to strike language from a pleading (an answer to a complaint) – not a motion to
 strike a dispositive motion, as is the case here.
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 Inc., 148 F.R.D. 289, 292 (M.D. Fla. 1993) (“A motion is not a pleading, and thus a motion to

 strike a motion is not proper under 12(f).”) (emphasis in original); James Wm. Moore et. al.,

 MOORE’S FEDERAL PRACTICE §12.37(2) (3d ed. 2004) (“Only material included in a ‘pleading’

 may be the subject of a motion to strike, and courts have been unwilling to construe the term

 broadly. Motions, briefs or memoranda, objections, or affidavits may not be attacked by the motion

 to strike.”).

         Accordingly, the Court should deny the instant Motion to Strike because Defendants’

 Motion to Dismiss the Second Amended Complaint is not a pleading and, thus, not the proper

 subject of a Rule 12(f) motion. See, e.g., Sec. & Exch. Comm’n v. City of Miami, Fla., No. 13-

 22600-CIV, 2016 WL 7188133, at *1 (S.D. Fla. May 20, 2016) (“Because a motion is not a

 pleading, Plaintiff is not entitled to the relief it seeks, and the Court requires no further briefing.”).

         B. Defendants’ Motion to Dismiss the Second Amended Complaint is Compliant with
            the Court’s Order Granting Leave.

         In their Motion to Strike, Plaintiffs allege that Defendants’ Motion to Dismiss the Second

 Amended Complaint should be stricken as “immaterial or impertinent” because, rather than file

 “an answer” to the Second Amended Complaint, Defendants “filed another Motion to Dismiss” in

 violation of the Court’s November 6, 2020 Order. D.E. 48, at ¶¶ 2-3, 5. The Court’s November 6,

 2020 Order, however, expressly permits Defendants to file a motion to dismiss in response to

 Plaintiffs’ Second Amended Complaint:

             Defendants’ pending [Motion to Dismiss the First Amended Complaint] will be
             denied as moot and without prejudice to the filing of a renewed motion, if
             appropriate, in response to Plaintiff’s Second Amended Complaint.

 D.E. 43, at 4 (emphasis added). Thus, following the filing of Plaintiffs’ Second Amended

 Complaint on November 6, 2020, Defendants timely filed their Motion to Dismiss the Second

 Amended Complaint on November 16, 2020. D.E. 47.

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        Plaintiffs’ Motion to Strike does not address the clear language of the Court’s November

 6, 2020 Order permitting Defendants to file their most-recent Motion to Dismiss. See generally

 D.E. 48. Nor does Plaintiffs’ Motion to Strike attack the content of Defendants’ Motion to Dismiss

 the Second Amended Complaint, see generally id., which directly lays bare the lacking allegations

 contained in Plaintiffs’ Second Amended Complaint and is clearly related to this action. Under

 Rule 12(f), a motion to strike is regularly denied unless the allegations have no possible relation

 to the controversy and may cause prejudice to one of the parties. Regions Bank v. Commonwealth

 Land Title Ins. Co., No. 11-cv-23257, 2012 WL 5410609, at *4 (S.D. Fla. Nov. 6, 2012).

        Instead, Plaintiffs contend that Defendants were required to file “an answer” to the Second

 Amended Complaint and that Defendants’ failure to do so somehow renders their Motion to

 Dismiss “immaterial or impertinent.” D.E. 48, at ¶¶ 2, 5. A showing of immateriality or

 impertinency is an “exceedingly high standard.” Shows Bus. & Entm’t v. Roptus, Inc., No. 07-

 23033-CIV, 2008 WL 11417653, at *1 (S.D. Fla. Feb. 5, 2008) (citing In re Sunbeam Securities

 Litigation, 89 F. Supp. 2d 1326, 1340 (S.D. Fla. 1999)). Filing the Motion to Dismiss the Second

 Amended Complaint was contemplated in the Court’s Order granting leave and is not immaterial

 or impertinent.

        The Court’s November 6, 2020 Order set the deadline for Defendants’ response to

 Plaintiffs’ Second Amended Complaint. See D.E. 43, at 5. Defendants filed their response to

 Plaintiffs’ Second Amended Complaint – the Motion to Dismiss the Second Amended Complaint

 under Rule 12(b)(6) – prior to the Court’s deadline. D.E. 47. The Court specifically stated

 Defendants could file a renewed motion to dismiss the Second Amended Complaint. D.E. 43, at

 4. Defendants’ Motion to Dismiss the Second Amended Complaint clearly does not warrant being




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 stricken; it is neither immaterial nor impertinent. Plaintiffs’ Motion to Strike Defendants’ Motion

 to Dismiss the Second Amended Complaint should be denied.

   IV. CONCLUSION AND RELIEF REQUESTED

        WHEREFORE, Defendants CheckAlt ERAS, Inc. and Shai Stern respectfully request this

 honorable Court enter an Order denying Plaintiffs’ Motion to Strike Defendants’ Motion to

 Dismiss the Second Amended Complaint with prejudice, in addition to any further relief deemed

 just and proper.

 Dated: December 1, 2020                      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on December 1, 2020, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record identified on the below Service List, either via

 transmission of Notice of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive Notices of Filing

 electronically.


                                              By: Laurie A. Perez
                                                  Laurie A. Perez




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